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                      EXHIBIT 4
        FILED REDACTED PURSUANT TO ORDER
          OF THE COURT DATED MAY 12, 2025




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                            UNITED STATES DISTRICT COURT
  15                       CENTRAL DISTRICT OF CALIFORNIA
  16
                                                       CASE NO. 2:22-CV-1916-FWS-GJS
  17
  18   ABDIRAHMAN ADEN KARIYE,
       et al.,                                        DEFENDANTS’ RESPONSES AND
  19                       Plaintiffs,                OBJECTIONS TO PLAINTIFF
  20                                                  ABDIRAHMAN KARIYE’S FIRST
             v.                                       SET OF INTERROGATORIES
  21
  22   ALEJANDRO MAYORKAS, Secretary
       of the Department of Homeland                  Honorable Fred W. Slaughter
  23   Security, in his official capacity, et al.,
                                                      United States District Judge
  24                        Defendants.

  25
             Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and the
  26
       Local Rules of the United States District Court of the Central District of California,
  27


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   1   Defendants, by and through undersigned counsel, submit their Responses and
   2   Objections to Plaintiff Abdirahman Kariye’s First Set of Interrogatories.
   3         Defendants’ responses are provided in accordance with Rule 26(b)(1), which
   4   permits the discovery of any non-privileged information that is both relevant to any
   5   party’s claim or defense and proportional to the needs of the case. Defendants do
   6   not, by providing such information, waive any objection to its admissibility on the
   7   grounds of relevance, proportionality, accessibility, materiality, or other appropriate
   8   grounds. The inadvertent disclosure by Defendants of information protected by any
   9   privilege or protection shall not constitute a waiver of the applicable privilege or
  10   protection as to any information or documents disclosed. Defendants reserve the
  11   right to supplement or amend their responses in accordance with Rule 26(e) should
  12   additional or different information be discovered or become available.
  13                               GENERAL OBJECTIONS
  14         The general objections set forth below apply to each and every discovery
  15   request discussed below.      In asserting the Defendants’ objections to specific
  16   discovery requests, the Defendants may assert an objection that is the same as or
  17   substantially similar to one or more of these objections. They may do so because the
  18   language of the discovery request itself may signal particular and specific concerns
  19   that the discovery request at issue may be objectionable based on the grounds stated.
  20   The fact that the Defendants, in their objections to Plaintiffs’ individual requests,
  21   may specifically reference some of the objections described immediately below, but
  22   not others from the same list, does not indicate that they have waived any of these
  23   objections as to any of Plaintiffs’ requests.
  24         1.    Defendants object to any directions, definitions, or instructions
  25   contained in the Interrogatories that seek to impose upon them obligations in excess
  26   of, or different from, those required by the Federal Rules of Civil Procedure.
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   1         2.     Defendants object to the Interrogatories to the extent that they request
   2   information that is subject to a claim of privilege or that calls for a response that
   3   would require disclosure of the mental impressions, conclusions, or legal theories of
   4   their attorneys and other representatives concerning this litigation.
   5         3.     Defendants object to any request to the extent that it, whether standing
   6   alone or in conjunction with any other request, is vague, overbroad, disproportionate
   7   to the needs of the case, or would operate to annoy, embarrass, or unduly burden
   8   them, on the ground that such a request exceeds the permissible scope of discovery
   9   under the Federal Rules of Civil Procedure.
  10         4.     Defendants object to any request to the extent it seeks information not
  11   relevant to the subject matter involved in the pending action and is not reasonably
  12   calculated to lead to the discovery of admissible evidence on the ground that such a
  13   request exceeds the permissible scope of discovery under the Federal Rules of Civil
  14   Procedure.
  15                           OBJECTIONS TO DEFINITIONS
  16         1.     Defendants object to the proposed definition of “COMMUNICATION”
  17   to the extent it encompasses items outside of Defendants’ possession, custody, or
  18   control, including information sent or received via personal devices, accounts,
  19   websites, or similar means.
  20         2.     Defendants object to the proposed definition of “DOCUMENT” to the
  21   extent it calls for the automatic production of draft documents, or the production of
  22   nonresponsive documents simply because they are attached to responsive
  23   documents.
  24         3.     Defendants object to the proposed definition of “IDENTIFY” to the
  25   extent it requires them to provide information that may be protected from disclosure
  26   by federal or state law, including but not limited to the Privacy Act (5 U.S.C. § 552a).
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   1         4.    Defendants object to the proposed definitions of “DEFENDANTS,”
   2   “PERSON,” “YOU,” and “YOUR” to the extent these definitions purport to
   3   encompass agencies or component agencies outside the four named Defendants.
   4                         OBJECTIONS TO INSTRUCTIONS
   5         1.    Defendants object to instruction 3 insofar as it calls for information
   6   beyond the scope of what is required under Federal Rule of Civil
   7   Procedure 26(b)(5)(A), which requires only that a party withholding otherwise
   8   discoverable information as privileged or protected “expressly make the claim” and
   9   “describe the nature of the documents, communications, or tangible things not
  10   produced or disclosed” in a manner that, without revealing privileged or protected
  11   information, “will enable other parties to assess the claim.”          Fed. R. Civ.
  12   P. 26(b)(5)(A).   In particular, Defendants object to providing the relationship
  13   between persons making a communication and persons present, and between an
  14   author and an addressee of a document. Such information is beyond the scope of
  15   what is required under Rule 26(b)(5) and would require additional research to
  16   discern, making the burden of providing such information outweigh any possible
  17   benefit. Defendants further object to providing the names of all persons to whom a
  18   privileged document was circulated or its contents communicated. In addition to
  19   being beyond the scope of what is required under Rule 26(b)(5), such information
  20   may not be readily apparent from the face of a document and thus require additional
  21   research to discern. The burden and expense of providing such information thus
  22   outweighs any possible benefit.
  23         2.    Defendants object to instruction 6 on the ground that the proposed time
  24   period of January 1, 2010 to present is overly broad and not proportional to the needs
  25   of the case. Defendants intend to include in their responses information concerning
  26   events that occurred between September 12, 2017 and March 24, 2022—a period
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   1   beginning with the first secondary inspection of a Plaintiff described in the amended
   2   complaint.
   3     RESPONSES AND OBJECTIONS TO SPECIFIC INTERROGATORIES
   4   Interrogatory No. 1
   5         For each of the ten incidents of questioning alleged in the AMENDED
   6   COMPLAINT, IDENTIFY every question that DEFENDANTS asked each
   7   PLAINTIFF, categorized by incident and DEFENDANT.
   8        Response: Defendants object to this interrogatory insofar as it is directed to
   9   the Department of Homeland Security (DHS), Immigrations and Customs
  10   Enforcement (ICE), and Homeland Security Investigations (HSI) because, to the best
  11   of Defendants’ knowledge, none of these agencies participated in the questioning of
  12   Plaintiffs described in the amended complaint. Defendants further object to this
  13   interrogatory because it requests information that can be obtained from another
  14   source that is more convenient, less burdensome, and less expensive: Plaintiffs
  15   themselves.
  16        Subject to and without waiver of the foregoing objections, Customs and Border
  17   Protection (CBP) directs Plaintiffs to non-privileged documents related to the ten
  18   incidents of questioning alleged in the amended complaint that will be produced in
  19   response to Plaintiffs’ Requests for Production in accordance with Rule 33(d).
  20   Interrogatory No. 2
  21        For each of the ten incidents of questioning alleged in the AMENDED
  22   COMPLAINT, DESCRIBE in detail why DEFENDANTS asked each question
  23   CONCERNING PLAINTIFFS’ religious beliefs, practices, and associations.
  24        Response: Defendants object to this interrogatory insofar as it is directed to
  25   DHS, ICE, and HSI because, to the best of Defendants’ knowledge, none of these
  26   agencies participated in the questioning of Plaintiffs described in the amended
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   1   complaint. CBP objects to the formulation of this interrogatory because it presumes
   2   that CBP in fact asked questions concerning Plaintiffs’ religious beliefs, practices,
   3   and associations, which Defendants do not concede. CBP objects to providing any
   4   response to this interrogatory because it solely seeks information protected by the
   5   law enforcement privilege, except to the extent such information is reflected in non-
   6   privileged documents that will be produced in response to Plaintiffs’ Requests for
   7   Production in accordance with Rule 33(d).
   8   Interrogatory No. 3
   9        For each of the ten incidents of questioning alleged in the AMENDED
  10   COMPLAINT, IDENTIFY and DESCRIBE in detail all DOCUMENTS
  11   CONCERNING PLAINTIFFS that contributed, directly or indirectly, to
  12   DEFENDANTS’ decision to ask each question CONCERNING PLAINTIFFS’
  13   religious beliefs, practices, and associations, regardless of the year in which the
  14   DOCUMENT was created or the year in which the events discussed in the
  15   DOCUMENT took place.
  16        Response: Defendants object to this interrogatory insofar as it is directed to
  17   DHS, ICE, and HSI because, to the best of Defendants’ knowledge, none of these
  18   agencies participated in the questioning of Plaintiffs described in the amended
  19   complaint. CBP objects to the formulation of this interrogatory because it presumes
  20   that CBP in fact asked questions concerning Plaintiffs’ religious beliefs, practices,
  21   and associations, which Defendants do not concede.          CBP further objects to
  22   providing any response to this interrogatory because it solely seeks information
  23   protected by the law enforcement privilege.
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   1   Interrogatory No. 4
   2         For each of the ten incidents of questioning alleged in the AMENDED
   3   COMPLAINT,         IDENTIFY       all    DOCUMENTS         containing     information
   4   CONCERNING PLAINTIFFS that DEFENDANTS obtained as a result of that
   5   questioning.
   6         Response: Defendants object to this interrogatory insofar as it is directed to
   7   DHS, ICE, and HSI because, to the best of Defendants’ knowledge, none of these
   8   agencies participated in the questioning of Plaintiffs described in the amended
   9   complaint. Defendants further object to this interrogatory to the extent that it seeks
  10   documents that are protected by the law enforcement privilege, deliberative process
  11   privilege, or any other applicable privileges or protections from disclosure.
  12         Subject to and without waiver of the foregoing objection, CBP directs Plaintiffs
  13   to non-privileged documents related to the ten incidents of questioning alleged in the
  14   amended complaint that will be produced in response to Plaintiffs’ Requests for
  15   Production in accordance with Rule 33(d).
  16   Interrogatory No. 5
  17         For each of the ten incidents of questioning alleged in the AMENDED
  18   COMPLAINT, DESCRIBE in detail all reasons DEFENDANTS believed they had
  19   for retaining information CONCERNING each PLAINTIFF’S religious beliefs,
  20   practices, and associations.
  21         Response: Defendants object to this interrogatory insofar as it is directed to
  22   DHS, ICE, and HSI because, to the best of Defendants’ knowledge, none of these
  23   agencies participated in the questioning of Plaintiffs described in the amended
  24   complaint. Defendants further object to this interrogatory because a request for what
  25   Defendants “believed” is vague and ambiguous.             Defendants object to the
  26   formulation of this interrogatory to the extent it implies that Defendants retained
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   1   records because they included information about Plaintiffs’ religious beliefs,
   2   practices, and associations, and not for one of many other reasons to retain records
   3   that are entirely unrelated to religion. Defendants also object to this interrogatory to
   4   the extent that it seeks information that is protected by the law enforcement privilege,
   5   deliberative process privilege, or any other applicable privileges or protections from
   6   disclosure.
   7        Subject to and without waiver of the foregoing objections, Defendants answer
   8   as follows: DHS’s retention of documents and information is governed by generally
   9   applicable rules and policies, including DHS’s official policy regarding First
  10   Amendment protected activities, Memorandum from Kevin K. McAleenan to All
  11   DHS Employees Regarding First Amendment Protected Activities (May 17, 2019),
  12   available at https://perma.cc/6ZN4-TAKB.           CBP also relies upon the TECS
  13   retention policy, U.S. Customs and Border Protection, Privacy Impact Assessment
  14   for the TECS System: CBP Primary and Secondary Processing (Dec. 22, 2010),
  15   available at https://perma.cc/4BDV-XNTS.
  16   Interrogatory No. 6
  17         IDENTIFY and DESCRIBE in detail all databases, systems, and platforms that
  18   contain information regarding PLAINTIFFS’ religious beliefs, practices, or
  19   associations as a result of DEFENDANTS’ questioning of PLAINTIFFS, including
  20   the length of time for which data is retained by default, and which government
  21   agencies (federal, state, and foreign) have access to those databases, systems, and
  22   platforms.
  23         Response: Defendants object to this interrogatory insofar as it is directed to
  24   DHS, ICE, and HSI because, to the best of Defendants’ knowledge, none of these
  25   agencies participated in the questioning of Plaintiffs described in the amended
  26   complaint. Defendants further object on the ground that this interrogatory is overly
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   1   broad and disproportionate to the needs of the case to the extent it seeks information
   2   that is entirely unrelated to Plaintiffs or the allegations in Plaintiffs’ complaint.
   3   Defendants further object to this interrogatory as vague and ambiguous insofar as it
   4   does not define the terms “databases,” “systems,” or “platforms.” Defendants also
   5   object to this interrogatory to the extent it seeks information protected by the law
   6   enforcement privilege, deliberative process privilege, or any other applicable
   7   privileges or protections from disclosure.
   8         Subject to and without waiver of the foregoing objections, CBP answers as
   9   follows: Information regarding the secondary inspections described in the amended
  10   complaint is contained in TECS, a system of records that includes “temporary and
  11   permanent enforcement, inspection, and operational records relevant to the
  12   antiterrorism and law enforcement mission of CBP and numerous other federal
  13   agencies it supports.”1 See U.S. Customs and Border Protection, Privacy Impact
  14   Assessment for the TECS System: CBP Primary and Secondary Processing at 2
  15   (Dec. 22, 2010), available at https://perma.cc/4BDV-XNTS (CBP PIA for TECS).
  16   Among other uses, TECS serves as a data repository to support law enforcement
  17   “lookouts,” border screening, and reporting for CBP’s primary and secondary
  18   inspection processes. Id. Records of all inspections at U.S. ports of entry, including
  19   relevant information and results of CBP secondary inspections, are entered into
  20   TECS. Id. at 4–6. Such records are retained by TECS for a maximum of 75 years.
  21   Id. at 14.
  22         CBP owns and operates TECS; CBP may also share information collected in
  23
  24
       1
  25     TECS is not an acronym; the system is an updated and modified version of the
       former Treasury Enforcement Communications System. The term “TECS” describes
  26   both an information-sharing platform encompassing different systems of records,
  27   and the above-described system of records. See CBP PIA for TECS at 1.



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   1   TECS with certain other DHS components that show a need to know the information,
   2   consistent with their missions, id. at 15–16, and other federal government agencies
   3   that have demonstrated a justifiable need for the information, pursuant to a
   4   memorandum of understanding with CBP, id. at 16–17. CBP also sometimes grants
   5   access to TECS records to outside federal, state, local, tribal, and foreign agencies
   6   responsible for law enforcement, counterterrorism, and border security. Id. at 17.
   7   This is done on a need-to-know basis and for a specific purpose consistent with the
   8   TECS Privacy Act Statement of Records Notification. Id.
   9   Interrogatory No. 7
  10         For each of the ten incidents of questioning alleged in the AMENDED
  11   COMPLAINT, IDENTIFY the agents, officers, or officials who participated in, were
  12   present at, or supervised any PERSON in connection with such questioning.
  13         Response: Defendants object to this interrogatory insofar as it is directed to
  14   DHS, ICE, and HSI because, to the best of Defendants’ knowledge, none of these
  15   agencies participated in the questioning of Plaintiffs described in the amended
  16   complaint. Defendants further object to the use of the term “supervised” as vague
  17   and ambiguous because CBP officers have multiple levels of supervision, and it is
  18   unclear which supervisors’ identities the interrogatory seeks. Defendants also object
  19   to this interrogatory as overly broad and disproportionate to the needs of the case
  20   insofar as it seeks the identities of “agents, officers, or officials” who did not conduct
  21   and were not present at, and therefore would have no reason to have any knowledge
  22   about, the questioning alleged in the amended complaint.
  23         Subject to and without waiver of the foregoing objections, CBP directs
  24   Plaintiffs to non-privileged documents related to the ten incidents of questioning
  25   alleged in the amended complaint that will be produced in response to Plaintiffs’
  26   Requests for Production in accordance with Rule 33(d), and provides the following
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   1   names of CBP officers who participated in the alleged questioning in each of the ten
   2   secondary inspections identified in the amended complaint:
                                   2
   3       a.                          CBP Officer, Seattle-Tacoma International Airport. Officer
   4                    participated in the secondary inspection of Plaintiff Kariye on
   5            September 12, 2017, at the Seattle-Tacoma International Airport.
   6       b.                           CBP Officer, Port of Blaine, Washington. Officer
   7            participated in the secondary inspection of Plaintiff Kariye on February 3,
   8            2019, at the Port of Blaine, Peace Arch Bridge.
   9       c.                             CBP Officer, Port of San Diego. Officer
  10            participated in the secondary inspection of Plaintiff Kariye on November 24,
  11            2019, at Ottawa International Airport Preclearance.
  12       d.                           Supervisory CBP Officer, Seattle-Tacoma International
  13            Airport. Officer                participated in the secondary inspection of Plaintiff
  14            Kariye on August 16, 2020, at the Seattle-Tacoma International Airport.
  15       e.                      CBP Officer. Officer              participated in the secondary
  16            inspection of Plaintiff Kariye on December 31, 2021, at the Minneapolis - St.
  17            Paul International Airport.
  18       a.                          Former CBP Officer. Former Officer               participated
  19            in the secondary inspection of Plaintiff Mouslli on August 8, 2018, at the
  20            Lukeville Port of Entry.
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  25     Defendants designate the highlighted names of lower-level law enforcement
       officers throughout this document as CONFIDENTIAL and subject to the protective
  26
       order entered in this matter. See ECF No. 53.
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   1     b.                      Supervisory CBP Officer, Calgary Preclearance. Officer
   2                     participated in the secondary inspection of Plaintiff Mouslli on
   3          August 6 2019, at the Los Angeles International Airport.
   4     c. Richard Andrade, CBP Officer. Officer               participated in the secondary
   5          inspection of Plaintiff Mouslli on March 11, 2020, at the Los Angeles
   6          International Airport.
   7     d.                      CBP Officer, Los Angeles. Officer            participated in
   8          the secondary inspections of Plaintiff Mouslli on June 5, 2021 and May 4,
   9          2022, at the Los Angeles International Airport.
  10     e.                      CBP Officer, Los Angeles International Airport. Officer
  11                   participated in the secondary inspection of Plaintiff Shah on May 7,
  12          2019, at the Los Angeles International Airport.
  13     f.                        CBP Officer, Los Angeles International Airport. Officer
  14                    participated in the secondary inspection of Plaintiff Shah on May 7,
  15          2019 at the Los Angeles International Airport.
  16   Interrogatory No. 8
  17          IDENTIFY and DESCRIBE in detail all complaints received by
  18   DEFENDANTS regarding questioning of Muslim travelers or travelers perceived as
  19   Muslim CONCERNING their religion, religious belief, religious practice, or
  20   religious association, and any DOCUMENTS created, COMMUNICATIONS made,
  21   or actions taken by DEFENDANTS in response to those complaints.
  22          Response: Defendants object to this interrogatory as vague and ambiguous
  23   insofar as it does not define the term “complaints.” Defendants further object on the
  24   ground that this request is overly broad and disproportionate to the needs of the case
  25   to the extent it seeks information about informal complaints or information that is
  26   entirely unrelated to Plaintiffs or the allegations in Plaintiffs’ complaint and could
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   1   be read to include informal complaints or allegations. Defendants also object to this
   2   request as overly burdensome to the extent it seeks information from the TECS
   3   database, which is not text-searchable and is not a repository for formal or official
   4   complaints against CBP, making a search of the scope requested virtually impossible,
   5   and the burden of such a search far outweigh any possible benefit. In addition,
   6   Defendants object to this request to the extent that it seeks information that is
   7   protected by the law enforcement privilege, deliberative process privilege, attorney
   8   client privilege, work product doctrine, or any other applicable privilege or
   9   protection from disclosure. Finally, Defendants object to this request to the extent
  10   that it seeks information or documents that are protected from disclosure by federal
  11   or state law, including but not limited to, the Privacy Act (5 U.S.C. § 552a).
  12         Subject to and without waiver of the foregoing objections, CBP directs
  13   Plaintiffs to the DHS CRCL memorandum entitled “Religious Questioning at Ports
  14   of   Entry    –   Multiple    Complaints”          (Feb.   26,   2019),    available   at
  15   https://perma.cc/YKJ7-FDHX.       CBP also directs Plaintiffs to additional non-
  16   privileged documents reflecting formal complaints received by Defendants about
  17   questioning at ports of entry concerning a traveler’s religion, religious beliefs,
  18   religious practices, or religious associations that will be produced in response to
  19   Plaintiffs’ Requests for Production in accordance with Rule 33(d).
  20   Interrogatory No. 9
  21         IDENTIFY and DESCRIBE in detail all policies, procedures, guidance,
  22   briefings, musters, recommendations, and trainings—formal and informal—
  23   CONCERNING DEFENDANTS’ questioning of PERSONS at ports of entry.
  24         Response:
  25         Defendants object to this interrogatory insofar as it is directed to DHS, ICE,
  26   and HSI because none of these agencies conduct questioning at ports of entry.
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   1         Defendants object to this request as vague and ambiguous insofar as it does
   2   not define the terms “policies,” “procedures,” “guidance,” “briefings,” “musters,”
   3   “recommendations,” or “trainings.” Defendants also object to this request as vague
   4   and ambiguous insofar as it does not define an “informal” policy. Defendants further
   5   object on the ground that this request is overly broad and disproportionate to the
   6   needs of the case to the extent it seeks information regarding every one of
   7   Defendants’ policies, procedures, guidance, briefings, musters, recommendations, or
   8   trainings concerning the questioning of persons at ports of entry, the majority of
   9   which are entirely unrelated to the allegations in Plaintiffs’ complaint and thus
  10   irrelevant to this lawsuit. Finally, Defendants object to this request to the extent that
  11   it seeks information that is protected by the law enforcement privilege, deliberative
  12   process privilege, attorney client privilege, work product doctrine, or any other
  13   applicable privilege or protection from disclosure.
  14         Subject to and without waiver of the foregoing objections, CPB directs
  15   Plaintiffs to non-privileged, generally applicable, final policy, procedure, guidance,
  16   briefing, muster, recommendation, and training documents concerning both
  17   questioning of persons at port of entry and religion and/or religious beliefs, practices,
  18   and/or associations; or First Amendment protections that will be produced in
  19   response to Plaintiffs’ Requests for Production in accordance with Rule 33(d).
  20   Interrogatory No. 10
  21         IDENTIFY and DESCRIBE in detail all policies, procedures, guidance,
  22   briefings, musters, recommendations, and trainings—formal and informal—
  23   CONCERNING (a) religion, religious beliefs, religious practices, or religious
  24   associations, and (b) the screening, inspection, detaining, or questioning of
  25   PERSONS at a port of entry.
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   1            Response: Defendants object to this interrogatory insofar as it is directed to
   2   DHS, ICE, and HSI because none of these agencies conduct questioning at ports of
   3   entry.
   4            Defendants object to this request as vague and ambiguous insofar as it does
   5   not define the terms “policies,” “procedures,” “guidance,” “briefings,” “musters,”
   6   “recommendations,” or “trainings.” Defendants also object to this request as vague
   7   and ambiguous insofar as it does not define an “informal” policy. Defendants further
   8   object on the ground that this request is overly broad and disproportionate to the
   9   needs of the case to the extent it seeks information regarding the screening,
  10   inspection, detaining, or questioning of persons at a port of entry that do not concern
  11   First Amendment protections. Finally, Defendants object to this request to the extent
  12   that it seeks information that is protected by the law enforcement privilege,
  13   deliberative process privilege, attorney client privilege, work product doctrine, or
  14   any other applicable privilege or protection from disclosure.
  15            Subject to and without waiver of the foregoing objections, CBP directs
  16   Plaintiffs to responsive, non-privileged, generally applicable, final policy, procedure,
  17   guidance, briefing, muster, recommendation, and training documents that concern
  18   both (a) First Amendment protections; and (b) the screening, inspection, detaining,
  19   or questioning of persons at a port of entry that will be produced in response to
  20   Plaintiffs’ Requests for Production in accordance with Rule 33(d).
  21   Interrogatory No. 11
  22            DESCRIBE the circumstances under which DEFENDANTS may question
  23   travelers at a port of entry CONCERNING their religion, religious beliefs, religious
  24   practices, and religious associations.
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   1            Response: Defendants object to this interrogatory insofar as it is directed to
   2   DHS, ICE, and HSI because none of these agencies conduct questioning at ports of
   3   entry.
   4            Defendants object to this interrogatory as overly broad and disproportionate
   5   to the needs of the case to the extent it seeks to require Defendants to describe every
   6   conceivable situation in which a traveler might be asked questions concerning
   7   religion, religious beliefs, religious practices, or religious associations, including
   8   situations that are entirely unrelated to Plaintiffs or the allegations in Plaintiffs’
   9   complaint.
  10            Subject to and without waiver of the foregoing objections, CBP directs
  11   Plaintiffs to DHS’s official policy regarding First Amendment protected activities,
  12   Memorandum from Kevin K. McAleenan to All DHS Employees Regarding First

  13   Amendment          Protected    Activities      (May     17,   2019),     available    at

  14   https://perma.cc/6ZN4-TAKB, and responds as follows:

  15            All travelers, including U.S. citizens, attempting to enter the United States are

  16   required to present themselves and their effects for inspection at a port of entry to

  17   ensure that they are legally eligible to enter and that their belongings are not being

  18   introduced into the United States contrary to law. CBP considers all available

  19   information in determining the actions to take during a border inspection. There are

  20   numerous reasons why CBP questioning at ports of entry may relate to religion. The

  21   examples noted here are illustrative, not exhaustive. For instance, CBP may ask

  22   questions regarding religion to corroborate a traveler’s stated reason for international

  23   travel (for example, if an individual states that he or she was traveling abroad for a

  24   purpose relating to religion), or to corroborate a traveler’s stated occupation,

  25   particularly where that occupation relates to a religious vocation (for example, if a

  26   traveler states that he is a Catholic priest, CBP may ask questions regarding

  27   Catholicism). CBP may also ask questions regarding religion to determine whether



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   1   merchandise the traveler seeks to bring across the border is permissible (for example,
   2   if a traveler identifies an item in his or her suitcase as a religious item).
   3         CBP may pursue lines of questioning to determine whether potential
   4   administrative or criminal violations exist. Since these topics may have a nexus to
   5   the traveler’s religion and religious activities, the traveler could perceive that the

   6   focus of the interview and examination is religion versus the detection of illicit

   7   activity. Moreover, questions regarding religion may follow naturally from the
       traveler’s response to other questions.
   8
             If there is generalized intelligence about a particular threat that pertains in some
   9
       way to religion, for example, the issue raised in Tabbaa v. Chertoff, 509 F.3d 89 (2d
  10
       Cir. 2007), CBP may ask questions that touch on religious practice.
  11
             Additionally, per CBP policy, CBP endeavors to reasonably accommodate
  12
       travelers who require special consideration due to religious, cultural, or privacy
  13
       concerns (for example, a personal search of an individual who wears a religious
  14
       headdress). CBP may ask questions regarding religion to determine whether such
  15
       accommodations are appropriate. Many CBP facilities have limited private areas.
  16
       An officer may ask a traveler if, for example, he or she prays 5 times a day to ensure
  17   that necessary arrangements are made should the traveler request a private room to
  18   pray. This is particularly relevant after long flights or where secondary inspection is
  19   expected to last for a longer time.
  20   Interrogatory No. 12
  21         DESCRIBE the circumstances under which DEFENDANTS may target a
  22   traveler at a port of entry for questioning CONCERNING their religion, religious
  23   beliefs, religious practices, and religious associations, at least in part because the
  24   traveler is, or is perceived to be, Muslim.
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   1            Response: Defendants object to this interrogatory insofar as it is directed to
   2   DHS, ICE, and HSI because none of these agencies conduct questioning at ports of
   3   entry.
   4            Defendants object to this interrogatory as overly broad and disproportionate
   5   to the needs of the case to the extent it seeks to require Defendants to describe every
   6   conceivable situation in which a traveler might be asked questions concerning
   7   religion, religious beliefs, religious practices, or religious associations to travelers
   8   who are, or are perceived to be, Muslim, including situations that are entirely
   9   unrelated to Plaintiffs or the allegations in Plaintiffs’ complaint. Defendants also
  10   object to this interrogatory as vague and ambiguous because it does not define the
  11   term “target” or explain what they believe constitutes targeting “in part” because of
  12   a traveler’s religion or perceived religion.
  13            Subject to and without waiver of the foregoing objections, CBP responds as
  14   follows: There is no situation in which employees of DHS or any of its component
  15   agencies may “target” an individual for questioning solely on the basis of the faith
  16   to which they ascribe. This applies to travelers who are Muslim or perceived to be
  17   Muslim, as well as travelers who ascribe to, or are perceived to ascribe to, other
  18   faiths. Information about when DHS employees may ask questions regarding First
  19   Amendment protected activities, including the exercise of religion, is available in
  20   DHS’s official policy regarding First Amendment protected activities: Memorandum
  21   from Kevin K. McAleenan to All DHS Employees Regarding First Amendment
  22   Protected Activities (May 17, 2019), available at https://perma.cc/6ZN4-TAKB.
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   1   Dated: April 4, 2023
   2                             As to objections:
   3                             BRIAN M. BOYNTON
   4                             Principal Deputy Assistant Attorney General
                                 Civil Division
   5
   6                             BRIGHAM J. BOWEN
                                 Assistant Branch Director
   7                             Federal Programs Branch, Civil Division
   8
                                  /s/ Leslie Cooper Vigen
   9                             LESLIE COOPER VIGEN (D.C. Bar No. 1019782)
  10                             Senior Trial Counsel
                                 LAUREL H. LUM (N.Y. Bar. No. 5729728)
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  17
  18                             As to responses:
  19
                                 See attached signature page.
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  CBP:

         I declare under penalty of perjury that the foregoing factual responses to the Interrogatories

  on behalf of CBP are true and correct to the best of my information and belief.



  Date: _4/3/2023____           __________________________________________
                                      Casey Durst
                                      Executive Director, Operations
                                      Office of Field Operations
                                      U.S. Customs and Border Protection




                                                     20

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